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                                    UNITED STATES DISTRICT COURT
20                                NORTHERN DISTRICT OF CALIFORNIA
21    ANIBAL RODRIGUEZ, SAL                                     Case No.: 3:20-cv-04688-RS
22    CATALDO, JULIAN
      SANTIAGO, and SUSAN LYNN                                  [PROPOSED] ORDER GRANTING
23    HARVEY, individually and on behalf of all                 PLAINTIFFS’ ADMINISTRATIVE
      others similarly situated,                                MOTION TO SEAL
24
                       Plaintiffs,                              Magistrate Judge Alex G. Tse
25     vs.                                                      Courtroom A – 15th Floor
26                                                              Trial Date: August 18, 2025
       GOOGLE LLC,
27              Defendant.

28   _____________________________________________________________________________________________________________________
                                     [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                         ADMINISTRATIVE MOTION TO SEAL
                                            CASE NO. 3:20-CV-04688-RS
    Case 3:20-cv-04688-RS             Document 448-4              Filed 01/10/25       Page 2 of 2


1                                               [PROPOSED] ORDER
2            Before the Court is Plaintiffs’ Administrative Motion to Seal certain portions of Exhibit 1
3    to Google’s Motion to Strike (Dkt. 442-2). Having considered the Administrative Motion,
4    supporting declaration, and other papers on file, and good cause having been shown, the Court
5    ORDERS as follows:
6
      Document Sought to           Party Claiming                 Portions to be Filed        Basis for Sealing
7     be Sealed                    Confidentiality                Under Seal                  Portion of Document
      Exhibit 1 to Google’s        Plaintiffs                     Portion highlighted in      Refers to material
8     Motion to Strike                                            Blue on ECF pages 3         designated
      (Dkt. 442-2)                                                and 4.                      “Confidential”
9                                                                                             pursuant to the
10                                                                                            Protective Order

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12 IT IS SO ORDERED.

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     DATED: ________________________                      _____________________________________
14                                                        Honorable Alex G. Tse
                                                          United States Magistrate Judge
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     _____________________________________________________________________________________________________________________
                                     [PROPOSED] ORDER GRANTING PLAINTIFFS’
                                         ADMINISTRATIVE MOTION TO SEAL
                                            CASE NO. 3:20-CV-04688-RS
